            Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 1 of 14




 1                                       THE HONORABLE BARBARA JACOBS ROTHSTEIN
 2

 3

 4

 5

 6

 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9
     TATIANA WESTBROOK, an individual;
10   JAMES WESTBROOK, an individual; HALO
     BEAUTY PARTNERS, LLC, a Nevada Limited NO. 2:20-cv-01606-BJR
11   Liability Company,
12                              Plaintiffs,      PLAINTIFFS’   OPPOSITION  TO
13                                               DEFENDANTS’    REQUEST   FOR
           v.
                                                 JUDICIAL NOTICE SUBMITTED IN
14   KATIE JOY PAULSON, an individual;           CONJUNCTION WITH DEFENDANTS’
     WITHOUT A CRYSTAL BALL, LLC, a              MOTION TO DISMISS
15   Minnesota Limited Liability Company; and
     DOES 1 through 100, inclusive,
16
                                Defendants.
17

18

19

20

21

22

23

24

25
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                    CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -1                                1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                   Seattle, WA 98104
                  Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 2 of 14




 1   I.           INTRODUCTION
 2                Defendants have filed a separate Request for Judicial Notice in addition to their Motion
 3   to Dismiss Plaintiffs’ Complaint in an attempt to rewrite the facts of this case and insert
 4   characters who have nothing to do with the allegations regarding Defendants defaming Plaintiffs
 5   Tatiana Westbrook (“Tati”), James Westbrook (“James”), and Halo Beauty Partners, LLC
 6   (“Halo”) through over 80 videos and over 100 social media postings.1
 7                The vast majority of the facts portion of Defendants’ Motion relies upon citations to
 8   Defendants’ Appendix contained within Defendants’ Request for Judicial Notice. As explained
 9   below, Defendants’ Appendix is comprised of two sections: Appendix A, which is a Los Angeles
10   Superior Court Complaint, and Appendix B, a series of unnamed links to websites and videos,
11   none of which have anything to do with the causes of action in Plaintiffs’ Complaint.
12                 Plaintiffs hereby oppose Defendants’ Request for Judicial Notice as: 1) Defendants fail
13   to meet their burden of establishing how any of the documents requested satisfy either of the
14   legal standards set forth in Federal Rule of Evidence 201; 2) Defendants’ Request for Judicial
15   Notice of news articles is improper under Federal Rule of Evidence 201; and 3) Defendants’
16   Request for Judicial Notice of YouTube videos is improper under Federal Rule of Evidence 201.
17          II.       LEGAL STANDARD
18                Federal Rule of Evidence 201 states that a Court may take judicial notice of an
19   “adjudicative fact” that is not subject to reasonable dispute because it:
20                “(1) is generally known within the trial court’s territorial jurisdiction; or
21                 (2) can be accurately and readily determined from sources whose accuracy cannot
22   reasonably be questioned.”2
23                Defendants’ Request for Judicial Notice has failed to meet the burden of establishing
24   which element under Federal Rule of Evidence 201 Defendants are requesting judicial notice. It
25   1
         See Decl. J. Westbrook, ¶ 15.
     2
         Fed. R. Evid. 201 (b).
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                                   CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -2                                                   1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                                      Seattle, WA 98104
               Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 3 of 14




 1   is Defendants’ burden to meet this requirement, as it is Defendants who are requesting that the
 2   Court take judicial notice of certain facts.3 It is unclear whether Defendants are requesting that
 3   the Court take judicial notice of “adjudicative facts” under either Fed. R. Evid. 201(b)(1) or Fed.
 4   R. Evid. 201(b)(2), or pursuant to any part of the rule whatsoever.
 5            Nowhere in the Request do Defendants submit any citation to the rule by which
 6   Defendants are requesting judicial notice pursuant to the Rules of Evidence. Nor do Defendants
 7   state that such Request for Judicial Notice is proper pursuant to Fed. R. Evid. 201(b). The failure
 8   to meet this burden renders the Request fatal.4
 9            As addressed below, Defendants’ Request for Judicial Notice is both improper and
10   misleading.
        III.   THE DOCUMENTS REQUESTED ARE NOT PROPER FOR JUDICIAL
11             NOTICE AS A MATTER OF LAW
12            Defendants improperly seek judicial notice of the contents of: 1) Appendix A, which is a
13   Los Angeles Superior Court complaint; and 2) Appendix B, which Defendants state are YouTube
14   videos, but are actually news articles and unauthenticated YouTube videos.5
                A. DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE OF APPENDIX A
15                   IS IMPROPER AS DEFENDANTS’ CLAIM THEY ARE REQUESTING
16                   JUDICIAL NOTICE OF THE DOCUMENT SOLELY FOR THE
                     PURPOSE OF RECOGNIZING THE EXISTENCE OF THE
17                   COMPLAINT, YET SEEK TO HAVE THE COURT RECOGNIZE THE
                     CONTENTS, AND EVEN MISSTATE THE CONTENTS OF THE
18                   DOCUMENT
19            Defendants first request that the Court take judicial notice of Appendix A, which is the
20   Complaint on file in the Los Angeles Superior Court in Swanson, et al., v. Halo Beauty, Inc., et
21   al, 20SMCV01573. Defendants claim that the request for judicial notice is solely for “the
22

23

24
     3
25     See Fed. R. Evid. 201(c)(2).
     4
       See id.
     5
       No foundation has been laid for requesting judicial notice of the content of the articles or videos.
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                                       CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -3                                                         1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                                            Seattle, WA 98104
              Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 4 of 14




 1   purpose of recognizing the fact of the pleading and its contents.” Defendants state that they are
 2   not asking this Court to take judicial notice of the truth of anything contained in the complaint.6
 3                     1. Defendants Rely on Statements Contained in the Swanson Complaint
 4            Defendants rely on statements contained in the Swanson Complaint as truth in several
 5   portions of their Motion. See, for example, page 2 of the Motion, regarding the “sworn” contents
 6   of the Swanson Complaint; page 7 of the Motion, stating, “What followed was widespread media
 7   coverage of Swanson’s claims, in particular the fraud allegations and the evidence of Ms.
 8   Westbrook’s cynical contempt for her customers and fans.”7 Contrary to the statements in their
 9   Request for Judicial Notice, Defendants also rely on the following statement as a basis for
10   jurisdictional arguments in their Motion: “their business partner Clark Swanson, under penalty of
11   perjury in his verified complaint in Los Angeles County Superior Court, stated that the
12   Westbrooks ‘resided in Los Angeles County and were citizens of California from 2016 through
13   the filing of his complaint, in October 2020.”8
14                     2. Defendants Rely Upon Statements Purportedly Contained in the Swanson
                          Complaint, But in Actuality Are Nowhere To Be Found Therein
15

16            The Motion also relies on statements purportedly made in the Swanson Complaint, but in
17   actuality are nowhere to be found in said complaint. For instance, Defendants state: “[j]ust days
18   after Defendants broke the story of Swanson’s $5 million suit against the Westbrooks, the
19
     6
        See Defs.’ Request for Judicial Notice, Dkt. no. 16, at 1 (citing Papai v. Harbor Tug & Barge Co., 67 F. 3d. 203,
20   207 n.5 (9th Cir. 1995)).
     7
       Emphasis added.
     8
21     See Defs. Motion, Dkt. no. 17, at 15 (emphasis in original). Though this statement was made under penalty of
     perjury in the Swanson Complaint, it is knowingly patently false, and it has been proffered in bad faith by
22   Defendants and Defense Counsel. Decl. J. Westbrook, ¶¶ 17-18. To be certain, Defendants knew that the
     information in the Swanson Complaint was false at the time that it was filed. Just a month prior to the filing of said
23   Complaint, Defendants published a video covering the sale of the Westbrooks’ Los Angeles property wherein Ms.
     Paulson states that the Westbrooks had moved to Seattle a long while prior to said sale. Prior to said video, Ms.
24   Paulson published another video in June 2019 wherein she showed her viewers documents establishing that Ms.
     Paulson knew the Westbrooks lived in Washington as far back as June 2019. Decl. J. Westbrook, ¶18. As such, Ms.
25   Paulson was well aware that the allegations in the Swanson Complaint were false at the time the Swanson complaint
     was filed.
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                                     CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -4                                                       1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                                          Seattle, WA 98104
              Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 5 of 14




 1   Westbrooks—seeking to deflect attention from those allegations and that $5 million claim.…”9
 2   However, nowhere in the Swanson complaint does it state that it is a $5 million claim.
 3            Plaintiffs do not dispute the existence of the Swanson Complaint. However, Plaintiffs do
 4   dispute the veracity of the statements contained therein.10 As such statements are not subject to
 5   being determined accurately and readily from sources whose accuracy cannot reasonably be
 6   questioned, the truth of the contents of said Complaint are not proper subject matter for this
 7   Court to take judicial notice.11
                     3. Defendants Knew Statements Regarding the Westbrooks Residency
 8                      Contained in the Swanson Complaint Were False, Yet Rely Upon Such
 9                      False Statements in Bad Faith

10            The Swanson Complaint states under penalty of perjury that Mr. and Mrs. Westbrook are
11   residents of California.12 Defendants then rely upon this statement as a basis for jurisdictional
12   arguments in their Motion.13
13            This statement is knowingly false. Counsel knew it to be false at the time it was made and
14   thus proffered such argument in bad faith and in breach of his duty of candor as an officer of the
15   Court. Counsel then attempted to “support” this statement with his own findings from Mrs.
16   Westbrook’s social media in order to somehow evidence that Mrs. Westbrook lives in California
17   (she does not), but failed to disclose that Mrs. Westbrook’ social media account has published
18   pictures of Mrs. Westbrook in the exact same Seattle location as early as February 2019 that he
19   contends do not exist prior to December 2019.14 The failure to disclose such earlier postings in
20   light of the arguments being made by Defendants indicates that Mr. Brown’s presentation and
21   use of the evidence in his declaration is being proffered for the purpose of misleading the Court
22   about a fact Defendants know to be false.
23   9
       See Defs.’ Mot., Dkt. no. 17, at 7. (emphasis added.)
     10
24      See Decl. J. Westbrook, ¶¶ 17-18.
     11
        Fed. R. Evid. 201 (b).
25
     12
        See Def’s Appendix A, ¶ 4.
     13
        See Motion, p. 15.
     14
        See Decl. T. Westbrook, ¶ 9.
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                                   CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -5                                               1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                                  Seattle, WA 98104
              Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 6 of 14




 1            Because this testimony is inexplicably included in Mr. Brown’s declaration 15 and not Ms.
 2   Paulson’s, the testimony of Mr. Brown carries with it the heightened duty of candor with the
 3   court as an officer of the court. The subject social media posting was proffered by Mr. Brown to
 4   argue that Mrs. Westbrook’s social media failed to indicate a connection to living in Washington
 5   prior to December 2019.16
 6            Additionally, Defendants also knew Mr. Swanson’s statement regarding California
 7   residence to be false well before the filing of the Swanson complaint, yet nonetheless rely upon
 8   such knowingly false statement in their Motion. For instance, after the publication of the
 9   defamatory Patheos article, Ms. Paulson published a video named: “Sephora Arrived at My
10   House! And I’ll Answer Questions Too!” on May 31, 2019 on her YouTube channel wherein she
11   describes in detail some of the research she did on Plaintiffs, including her thorough search of
12   Washington State court, and other public records.17 Just days after publishing said video, Ms.
13   Paulson published another video on June 2, 2019 entitled “The Past James & Tati Westbrook
14   Dont [sic] want you to Know.” In displaying some of her research in said video, Ms. Paulson
15   showed a screenshot of then recently-filed corporate public records of a company with which
16   Mr. and Mrs. Westbrook are involved that disclosed an address in Washington State as their
17   legal domicile.18 As such, Ms. Paulson has published that she was on direct notice at the time she
18   wrote her Patheos article, had performed all of her research on Mr. and Mrs. Westbrook, and
19   made them and their family members the target of well over 100+ videos, tweets, articles, and
20

21
     15
        Federal Rule of Civil Procedure Rule 11(b) provides in pertinent part that: “[b]y presenting to the court a
22   pleading, written motion, or other paper—whether by signing, filing, submitting, or later advocating it—an
     attorney… certifies that to the best of the person's knowledge, information, and belief, formed after an inquiry
23   reasonable under the circumstances… (3) the factual contentions have evidentiary support or, if specifically so
     identified, will likely have evidentiary support after a reasonable opportunity for further investigation or discovery;
24   and (4) the denials of factual contentions are warranted on the evidence or, if specifically so identified, are
     reasonably based on belief or a lack of information.”
     16
25      Brown Decl. ¶ 6.
     17
        See Decl. T. Westbrook, ¶ 11.
     18
        See Decl. J. Westbrook, ¶ 18.
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                                     CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -6                                                       1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                                          Seattle, WA 98104
              Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 7 of 14




 1   other internet postings.19 These videos are expressly identified as being crucial evidence of
 2   defamation and harassment in Plaintiffs’ Complaint,20 and it is difficult to imagine that
 3   Defendants’ lawyer would not have viewed said videos made by his own client.
 4           As such, Defendants and their Counsel are intentionally attempting to mislead this Court
 5   by now relying upon such false statements as to Mr. and Mrs. Westbrooks’ state of domicile at
 6   the time Defendants targeted Plaintiffs with their conduct alleged in the operative Complaint.21
 7                B. APPENDIX B IS MISLEADING AS IT OSTENSIBLY REQUESTS
                     JUDICIAL NOTICE OF VIDEOS, YET ACTUALLY REQUESTS
 8
                     JUDICIAL NOTICE OF WEBPAGES AS WELL
 9            “Judicial notice is reserved for matters ‘generally known within the territorial
10   jurisdiction of the trial court’ or ‘capable of accurate and ready determination by resort to
11   sources whose accuracy cannot reasonably be questioned.’” 22 A "high degree of indisputability"
12   is generally required to justify judicial notice.23 “Moreover, judicial notice is only appropriate for
13   ‘adjudicative facts’ that are ‘not subject to reasonable dispute.’”24
14           Here, Defendants have requested that the Court take judicial notice of Appendix B, which
15   Defendants claim is a “list of web links to videos posted on YouTube.com.”25 However, a review
16   of Appendix B reveals that numerous links are not actually videos at all. For instance, the
17   following items in Appendix B are not YouTube videos, thus rendering such request for judicial
18   notice misleading and fatally defective:
19

20

21   19
         See, e.g., Decl. J. Westbrook. ¶ 15.
     20
22       See Compl., Dkt. no. 1, at ¶¶ 20-26.
     21
         Decl J. Westbrook. ¶ 11-12.
     22
        Jespersen v. Harrah's Operating Co., Inc., 444 F.3d 1104, 1110 (9th Cir.2006) (en banc) (quoting Fed. R.
23
     Evid. 201).
     23
         Id. (quoting Fed. R. Evid. 201 advisory committee's note).
24   24
          Holy Ghost Revival Ministries v. City of Marysville, 98 F. Supp. 3d 1153, 1162-1163 (W.D. Wash. 2015)
25   (quoting Fed. R. Evid. 201(a),(b)) (denying request for judicial notice of transcripts, emails, reports, letters, and
     print-outs of internet websites.)
     25
         See Defs.’ Request for Judicial Notice, Dkt. no. 16.
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                                    CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -7                                                      1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                                         Seattle, WA 98104
                Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 8 of 14




 1                                                            2.26
 2     https://www.nbcnews.com/news/us-news/cancelling-james-charles-beauty-youtuber-loses-3-
     million-subscribers-weekend-n1005131
 3

 4                                            3.27
     https://www.bing.com/videos/search?q=no+more+lies+charles&docid=60801738352226086&m
 5             id+4F73704657427837F8444F73704657427837F844+detail&FORM+VIRE

 6                                                 4.28
          https://www.cnn.com/2019/05/18/entertainment/james-charles-tati-westbrook-trnd/index.html
 7

 8     https://www.newsweek.com/youtuber-pewdiepie-doesnt-get-backlash-against-james-charles-
                                           idont-think
 9   1423347#:~:text=PewDiePie%2C%20the%20YouTube%20creator%20with%20the%20secondm
       ost%20subscriptions%2C,While%20the%20video%20may%20lead%20viewers%20into%20
10
                                                      6.29
11
          BuzzFeed News, There’s No One To Root For In The James Charles Beauty YouTuber Drama
12          (May 15, 2019) ((https://www.buzzfeednews.com/article/alessadominguez/james-charles-
                                     tatiwestbrook- beauty-youtuber-fallout)
13
      KQED, On The Thinly Veiled Homophobia In Tati Westbrook's James Charles Video (May 13,
14          2019) (https://www.kqed.org/pop/111743/on-the-thinly-veiled-homophobia-in-tati-
                                     westbrooksjames-charles-video)
15
                                                   7.30
16     Insider.com, One year after the beauty YouTuber war burned their community to the ground,
      new battle lines have been drawn between the growing stars that started it all (May 20, 2020)
17       https://www.insider.com/jeffree-star-james-charles-dramageddon-2-tati-westbrook-2020
18                                                            9.31

19                           https://knowyourmeme.com/memes/events/karmageddon

20             Further, Courts generally deny requests to take judicial notice of extrinsic documents,

21   including but not limited to: text messaging applications, unverified websites, conversations, and

22   newspaper articles as being not proper under Rule 201(b).32

23   26
        The purported contents of this article are relied upon in the facts section of Defendants’ Motion at p.4:8-10.
24
     27
        The purported contents of this article are relied upon in the facts section of Defendants’ Motion at page 4:10-13.
     28
        The purported contents of this article are relied upon in the facts section of Defendants’ Motion at page 4:8-19.
25
     29
        The purported contents of this article are relied upon in the facts section of Defendants’ Motion at page 4:18-27.
     30
        The purported contents of this article are relied upon in the facts section of Defendants’ Motion at page 4:25-35.
     31
        The purported contents of this article are relied upon in the facts section of Defendants’ Motion at page 5:1-3.
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                                      CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -8                                                        1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                                           Seattle, WA 98104
              Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 9 of 14




 1            Because the United States Court of Appeals for the Ninth Circuit has explained that a
 2   court may take judicial notice of publications to indicate what was in the public domain, but not
 3   whether the content of the publications is true,33 courts have held that “to the extent the court can
 4   take judicial notice of press releases and news articles, it can do so only to ‘indicate what was in
 5   the public realm at the time, not whether the contents of those articles were in fact true.’”34
 6            Here, Defendants have failed to demonstrate how the articles meet the requirements of
 7   Rule 201. Consequently, judicial notice should be denied.35
 8                C. DEFENDANTS IMPROPERLY CITE TO UNSPECIFIED LINKS TO
                     VIDEOS IN APPENDIX B, WHICH ARE NOT THE PROPER SUBJECT
 9                   OF JUDICIAL NOTICE
10
              The balance of Appendix B cites to videos, which are not the proper subject for judicial
11
     notice. The case law cited by Defendants applies only to judicial notice of written publications,
12
     not videos – or even links to news articles for that matter.36 Moreover, Defendants’ reliance on
13
     Olson v. California, 2020 U.S. Dist. LEXIS 34710, *10-11 (C.D. Cal. Feb. 10, 2020) is similarly
14

15

16
     32
         See Hunichen v. Atonomi LLC, 2020 U.S. Dist. LEXIS 220522, *18 (W.D. Wash. October 5, 2020); See also
17   Igbonwa v. Facebook, Inc., 2018 WL 4907632, at *3, n. 5 (N.D. Cal., Oct. 9, 2018) (refusing various articles as to
     the issue of whether Facebook and Mark Zuckerberg are “publishers” because neither requirement of Rule 201 is
18   satisfied); Vinson v. Cal. Dept. of Corr. & Rehab., 2014 WL 4594208, at *2 (N.D. Cal., Sept. 15, 2014) (refusing
     Los Angeles Times and ContraCostaTimes.com articles under Rule 201); Goodfellow v. Ahren, 2014 WL 1248238,
19   at *4 (N.D. Cal., Mar. 26, 2014) (refusing an Associated Press article as not "subject to judicial notice pursuant to
     Rule 201 of the Federal Rules of Evidence); Brockington v. J.P. Morgan Chase Bank, N.A., 2009 WL 1916690, at
20   *7 (N.D. Cal., July 1, 2009) (denying judicial notice of an article as not proper under Rule 201(b)); Ekdahl v. Ayers,
     2008 WL 4344314, at *3 (N.D. Cal., Sept. 22, 2008) (denying judicial notice of two articles "because the articles
21   and statements therein do not qualify for judicial notice under Rule 201."). See generally Planet Drum Foundation v.
     Hart, 2017 WL 4236932, at *5, n. 6 (N.D. Cal., Sept. 24, 2017) (refusing Wikipedia page under Rule 201, noting
22   "[n]umerous courts have held that Wikipedia pages are not sufficiently reliable to meet the requirement of Rule
     201(b)(2).) (citations omitted).
     33
        Von Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 960 (9th Cir. 2010).
23   34
        Spitzer v. Aljoe, 2016 WL 3275148, at *4 (N.D. Cal., June 15, 2016) (citing Von Saher).
     35
24      See Gee How Oak Tin Nat'l Benev. Assoc. v. Gee How Oak Tin Assoc. of North America, Inc., 2013 WL 1191264,
     at *2 (N.D. Cal., Mar. 21, 2013) (“Plaintiff has not explained how any of the documents meet this standard. The
25   Court does not take judicial notice of any of these documents.”).
     36
        See Von Saher v. Norton Simon Museum of Art at Pasadena, 592, F. 3d 954, 960 (9th Cir. 2010) (stating judicial
     notice was appropriate for “news articles,” not links to “news articles.”)
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                                     CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -9                                                       1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                                          Seattle, WA 98104
             Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 10 of 14




 1   misplaced. In Olson, the Court granted the request for judicial notice of documentary evidence
 2   “as those documents' [whose] existence cannot reasonably be disputed.”37
 3           Additionally, this district has determined that a Court may not take judicial notice of
 4   YouTube videos and photographs because there was reasonable dispute concerning the
 5   substance and authenticity of such evidence.38
 6           Here, Defendants not only improperly request judicial notice of videos without proper
 7   authentication, but also rely on the contents of the videos, many of which have been made by
 8   unreliable and disinterested third parties, as a basis for many of the irrelevant statements
 9   contained in Defendants’ Motion to Dismiss. As stated above, it is well established that the
10   videos themselves, as well as the content therein, are not the proper subject of judicial notice.
11           The content appears to largely contain the uninformed and irrelevant personal opinions of
12   individuals of which there is no evidence submitted to qualify their opinions as having any
13   credibility, be given any weight, or to otherwise provide any sense of reliability in the method in
14   which the opinions were formulated. Rather, the videos appear to contain nothing more than a
15   motley group of gossips attempting to build a monument to the Gods of speculation. It is the
16   contents of these videos which Defendants are now attempting to ask this Court to accept as
17   indisputable fact. This, the court is forbidden to do.
18           Defendants lack any evidentiary basis for the vast majority of statements contained in
19   their fact section of their moving papers. To wit, no one has testified as to anything contained in
20   any of these videos, let alone as to their authenticity. Thus, Defendants’ facts section is entirely
21   reliant upon the Court reviewing hours of footage of people of unknown credibility, motive,
22   education, and bias about matters upon which they have no verifiable expertise or personal
23   knowledge in order to provide ill-conceived opinions (See, e.g., Appendix B.12 link to Trisha
24
     37
25     Id. (Emphasis added.)
     38
       See Point Ruston, LLC v. Pac. Northwest Reg’l Council of the United Bhd. Of Carpenters & Joiners of Am., 658
     F.Supp.2d 1266 (W.D. Wash. 2009).
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                                 CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -10                                                 1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                                     Seattle, WA 98104
             Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 11 of 14




 1   Paytas39 YouTube video) about matters over which they have no personal knowledge and/or
 2   particular training.
 3            Quite literally, none the subject matter for which Defendants seek judicial notice meets
 4   the standards of Fed. R. Evid. 201 in the Appendix. Therefore, Defendants’ Request for Judicial
 5   Notice is improper.
 6            The following items in Appendix B are the links to the YouTube videos that Defendants
 7   cite and rely upon in their Motion to Dismiss: thus rendering such Request for Judicial Notice
 8   misleading and defective, and the facts stated in the Motion to Dismiss subject to being stricken:
 9
                                                  1. 40
10                  https://www.youtube.com/watch?v=XbaJ1JsBWQE&feature=youtu.be
11
                                                    5.41
12                            https://www.youtube.com/watch?v=3m4mF9-7L-Y
                    (https://www.youtube.com/watch?v=8HuJ5Kj_PPk&feature=youtu.be)
13
                                                             8.42
14

15                     Breaking My Silence: https://www.youtube.com/watch?v=1aIYkgTcHBw
16
                                                      10.43
17                               https://www.youtube.com/watch?v=nEg_jO1sTgg

18                                          11.44
     https://www.youtube.com/watch?v=VkEotHackso&feature=youtu.behttps%3A%2F%2Fwww.yo
19            utube.com%2Fwatch%3Fv%3DVkEotHackso&feature=youtu.be&app=desktop
20

21
     39
22      Trisha Paytas is apparently an internet adult entertainer, whose purported statements in a video have no bearing on
     whether the Westbrooks and Halo Beauty Partners, LLC were defamed by Defendants. Defendants and its Counsel’s
23   attempt to include such video into the record of this case has been done in bad faith.
     40
        The purported contents of this video are relied upon in the facts section of Defendants’ Motion at page 3:27-4:6.
24
     41
        The purported contents of this video are relied upon in the facts action of Defendants’ Motion at page 4:13:26.
     42
        The purported contents of this video are relied upon in the facts section of Defendants’ Motion at pages 4:3-6,
25   4:32-5:3, 5:4-22.
     43
        The purported contents of this video are relied upon in the facts section of Defendants’ Motion at page 6:5-13.
     44
        The purported contents of this video are relied upon in the facts section of Defendants’ Motion at page 6:8-22.
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                                     CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -11                                                      1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                                          Seattle, WA 98104
                  Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 12 of 14




                                                      12.45
 1                           https://www.youtube.com/watch?v=Ke2-yXDyCKk&t=361s
 2                                                              13.
 3                            https://www.youtube.com/watch?v=1aIYkgTcHBw&app=desktop
 4

 5                   D. BECAUSE THE FACTS SECTION IS ENTIRELY RELIANT UPON
                        ITEMS UPON WHICH DEFENDANTS HAVE IMPROPERLY
 6                      REQUESTED JUDICIAL NOTICE, THE ENTIRE FACTS SECTION IS
                        IMPROPER AND THEREFORE SHOULD BE STRICKEN
 7
                  Defendants have failed to lay any foundation as to why any of the items attached to the
 8
     Request for Judicial Notice are subject to judicial notice. Defendants have failed to attach news
 9
     articles as exhibits, and are attempting to mislead the Court as to the nature of the “facts.” The
10
     facts section of Defendants’ Motion is not based on “facts” – only opinions of third parties with
11
     no interest in the claims at issue.
12
                  There is no description or even minimal reference for each video or article in the Request
13
     for Judicial Notice. One must access each link to determine whether it is valid. The videos and
14
     articles have not been properly authenticated for purposes of judicial notice, nor are they the
15
     proper subject for judicial notice. As such, Appendix B should be summarily disregarded.
16
     Plaintiffs respectfully request that Defendants’ fact section should be stricken to the extent it
17
     improperly relies upon documents and content identified in Defendants’ Request for Judicial
18
     Notice and evidence that is not properly before the Court.
19
            IV.      CONCLUSION
20
                  Based upon the foregoing, Plaintiffs respectfully request that this Court deny Defendants’
21
     Request for Judicial Notice, and that it strike any and all portions of Defendants’ Motion to
22
     Dismiss that are reliant upon the items identified in Defendants’ Appendix “A” and “B”.
23

24

25
     45
          The purported contents of this video are relied upon in the facts section of Defendants’ Motion at page 6:15-22.
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                                       CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -12                                                        1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                                            Seattle, WA 98104
           Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 13 of 14




 1   Dated: December 23, 2020
                                       CARROLL, BIDDLE, & BILANKO, PLLC
 2

 3                                      By:    /s/ Jeffrey E. Bilanko
                                               Jeffrey E. Bilanko, WSBA 38829
 4
                                              /s/ Susan K. Kaplan
 5                                            Susan K. Kaplan, WSBA 40985

 6                                            Carroll, Biddle, & Bilanko, PLLC
                                              1000 2nd Avenue, Suite 3100
 7                                            Seattle, WA 98104
                                              Phone: (206) 338-1496
 8
                                              Tel.: (206) 338-1518
 9                                            Email: jbilanko@cbblegal.com
                                              Email: skaplan@cbblegal.com
10                                            Attorneys for Plaintiffs

11                                      JACOBSON, RUSSELL, SALTZ, &
                                        NASSIM & DE LA TORRE LLP
12
                                        By:     /s/ Michael J. Saltz
13
                                                Michael J. Saltz
14
                                        By:     /s/ Elana R. Levine
15                                              Elana R. Levine

16                                              JACOBSON, RUSSELL, SALTZ, &
                                                NASSIM & DE LA TORRE LLP
17                                              1880 Century Park East, Suite 900
                                                Los Angeles, CA 90067
18                                              Telephone: (310) 446-9900
19                                              Facsimile: (310) 446-9909
                                                Email: msaltz@jrsnd.com
20                                              Email: lani@jrsnd.com
                                                Attorneys for Plaintiffs
21                                              Admitted pro hac vice

22

23

24

25
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                  CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -13                                1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                    Seattle, WA 98104
            Case 2:20-cv-01606-BJR Document 27-6 Filed 12/23/20 Page 14 of 14




 1                                  CERTIFICATE OF SERVICE
 2          The undersigned declares under penalty of perjury under the laws of the State of
 3   Washington that on this day a true and accurate copy of the document to which this declaration is
 4   affixed was filed with the above-entitled Court through CM/ECF and was sent as indicated
 5   below on this day, to:
 6
       Attorneys for Defendants:
 7                                                    U.S. Mail Postage Prepaid
       Michael P. Brown                               CM/ECF
 8     Gordon Tilden Thomas & Cordell LLP             Hand Delivery
       600 University Street, Suite 2915              Email: mbrown@gordontilden.com
 9     Seattle, WA 98101
       Tel.: (206) 467-6477
10                                                cc: cswanson@gordontilden.com

11

12          DATED this 23rd day of December, 2020.
13

14
                                                 /s/ Elana R. Levine
15

16

17

18

19

20

21

22

23

24

25
26
     PLAINTIFFS’ OPPOSITION TO
     DEFENDANTS’ REQUEST FOR                          CARROLL, BIDDLE, & BILANKO, PLLC
     JUDICIAL NOTICE -14                                         1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                             Seattle, WA 98104
